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 5                                  UNITED STATES DISTRICT COURT

 6                                CENTRAL DISTRICT OF CALIFORNIA
 7
     RODERICK CAUSEY,                                Case No. 2:15-CV-06687-MWF-JEM
 8
 9                               Plaintiff,
10
                                                      ORDER REGARDING
11 ENHANCED RECOVERY                                  STIPULATION TO DISMISS WITH
                                                      PREJUDICE PURSUANT TO FRCP
     COMPANY, LLC.                                    41(A)(1)(A)(II)
12
13                              Defendants.
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15
     TO THE HONORABLE COURT, TO ALL PARTIES HEREIN AND TO
16
     THEIR RESPECTIVE COUNSEL OF RECORD:
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                    The Court has reviewed the Stipulation to Dismiss of Plaintiff RODERICK
18
     CAUSEY and Defendant ENHANCED RECOVERY COMPANY, LLC. Good cause
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20
     appearing, the Court grants the parties’ Stipulation to Dismiss Plaintiff’s individual

21 claim, with prejudice, pursuant to FRCP 41(a)(1)(A)(ii), with each party to bear their
22 respective attorneys’ fees and costs.
23
24 IT IS SO ORDERED.
25
26 Dated: May 9, 2016
27                                                UNITED STATES DISTRICT JUDGE
28


     {00048568;1}                                      1                     ORDER
                                                                             CASE NO.2:15-cv-06687-MWF-JEM
